        Case 6:23-cv-01282-MK          Document 35      Filed 12/18/23     Page 1 of 60




                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      EUGENE DIVISION

 OREGON RIGHT TO LIFE,                            Case No.: 6:23-cv-1282-MK
                                     Plaintiff,
 v.
                                                  DECLARATION OF JOSEPH D.
 ANDREW R. STOLFI, in his official                MAUGHON IN SUPPORT OF
 capacities as Department of Consumer and         PLAINTIFF’S REPLY TO DEFENDANT’S
 Business Services Director and Oregon            RESPONSE TO PLAINTIFF’S MOTION
 Insurance Commissioner,                          FOR PRELIMINARY INJUNCTION
                                Defendants.


                 Declaration of Joseph D. Maughon in Support of
              Plaintiff’s Reply to Defendant’s Response to Plaintiff’s
                          Motion for Preliminary Injunction

       I, Joseph D. Maughon, verify the following facts in support of Plaintiff’s Reply to

Defendant’s Response to Plaintiff’s Motion for Preliminary Injunction (“Prelim. Inj. Reply”):

       1. Attached as Exhibits Q through AA are PDF versions of excerpts of web-pages that I

retrieved on December 16, 2023, from the indicated URLs below that were cited in the Prelim.

Inj. Reply:

       Exhibit:

       Q.             https://www.ortl.org/2020/01/ortl-civil-rights-complaint/.

       R.             https://www.nrlc.org/about/mission/.

       S.             https://secularprolife.org/.

       T.             https://www.christianitytoday.com/ct/2022/december/pro-life-none-non-re
                      ligious-secular-atheist-feminist-ally.html.



Page 1 - J. MAUGHON DECL. IN SUPPORT OF PRELIM. INJ. REPLY
        Case 6:23-cv-01282-MK          Document 35       Filed 12/18/23    Page 2 of 60




       U.              https://www.pewresearch.org/religion/religious-landscape-study/views-abo
                       ut-abortion/.

       V.              https://news.gallup.com/opinion/polling-matters/392648/personal-religiosi
                       ty-attitudes-toward-abortion.aspx.

       W.              https://www.npr.org/2022/05/08/1097274169/when-does-life-begin-religio
                       ns-don’t-agree.

       X.              www.nrlc.org/communications/advisory-52nd-annual-nrl-convention/.

       Y.              www.youtube.com/watch?v=FO8nw8qtL-8.

       Z.              marchforlife.org/march-for-life-partnered-with-the-center-for-christian-virt
                       ue-announces-speakers-for-the-2023-ohio-march-for-life/.

       AA.             www.britannica.com/topic/ethics-philosophy.


       2. The web-page exhibits are true and accurate copies of excerpts of the original online

versions of the cited items.

       3. Attached as Exhibit AB is a true and accurate copy of excerpts of the certified

deposition transcript of Lois Anderson, Executive Director of Oregon Right to Life, dated

October 3, 2023.




Page 2 - J. MAUGHON DECL. IN SUPPORT OF PRELIM. INJ. REPLY
        Case 6:23-cv-01282-MK          Document 35        Filed 12/18/23     Page 3 of 60




                                          Verification

I, Joseph D. Maughon, declare as follows:

1.     I am a citizen of the United States of America and a resident of the State of Virginia. I am

       over the age of 18. I am an associate attorney at The Bopp Law Firm, P.C.

2.     I have personal knowledge of the facts and activities set out in the foregoing, and if called

       to testify I would competently testify as to the matters stated herein.

3.     I affirm under penalty of perjury that the factual statements in the foregoing are true and

       correct.



Dated: December 18, 2023                              /s/Joseph D. Maughon
                                                      Joseph D. Maughon
          Case 6:23-cv-01282-MK      Document 35   Filed 12/18/23   Page 4 of 60




                                        Exhibit Q
                   ORTL Files Complaint With U.S. Office for Civil Rights




Exhibit Page 097
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 5 of 60




Exhibit Page 098
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 6 of 60




Exhibit Page 099
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 7 of 60




                                    Exhibit R
                     National Right to Life Mission Statement




Exhibit Page 100
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 8 of 60




Exhibit Page 101
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 9 of 60




                                    Exhibit S
                                  Secular Pro-Life




Exhibit Page 102
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 10 of 60




Exhibit Page 103
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 11 of 60




Exhibit Page 104
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 12 of 60




Exhibit Page 105
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 13 of 60




                                     Exhibit T
                   They’re Not Religious. But They Oppose Abortion.




Exhibit Page 106
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 14 of 60




Exhibit Page 107
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 15 of 60




Exhibit Page 108
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 16 of 60




Exhibit Page 109
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 17 of 60




Exhibit Page 110
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 18 of 60




Exhibit Page 111
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 19 of 60




                                    Exhibit U
                    Views About Abortion by Religious Group




Exhibit Page 112
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 20 of 60




Exhibit Page 113
          Case 6:23-cv-01282-MK    Document 35   Filed 12/18/23   Page 21 of 60




                                      Exhibit V
                   Personal Religiosity and Attitudes Toward Religion




Exhibit Page 114
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 22 of 60




Exhibit Page 115
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 23 of 60




Exhibit Page 116
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 24 of 60




Exhibit Page 117
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 25 of 60




Exhibit Page 118
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 26 of 60




Exhibit Page 119
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 27 of 60




Exhibit Page 120
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 28 of 60




Exhibit Page 121
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 29 of 60




                                    Exhibit W
                   When Does Life Begin? Religions Don’t Agree.




Exhibit Page 122
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 30 of 60




Exhibit Page 123
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 31 of 60




Exhibit Page 124
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 32 of 60




Exhibit Page 125
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 33 of 60




Exhibit Page 126
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 34 of 60




                                    Exhibit X
                      nd
           Advisory: 52 Annual National Right to Life Convention Begins
                    Friday, June 23rd, in Pittsburgh, Pennsylvania




Exhibit Page 127
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 35 of 60




Exhibit Page 128
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 36 of 60




Exhibit Page 129
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 37 of 60




                                    Exhibit Y
                   2019 Oregon March for Life: Archbishop Sample




Exhibit Page 130
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 38 of 60




Exhibit Page 131
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 39 of 60




                                     Exhibit Z
            March for Life, Partnered With the Center for Christian Virtue,
               Announces Speakers for the 2023 Ohio March for Life




Exhibit Page 132
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 40 of 60




Exhibit Page 133
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 41 of 60




Exhibit Page 134
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 42 of 60




                                   Exhibit AA
                                       Ethics




Exhibit Page 135
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 43 of 60




Exhibit Page 136
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 44 of 60




Exhibit Page 137
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 45 of 60




Exhibit Page 138
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 46 of 60




Exhibit Page 139
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 47 of 60




Exhibit Page 140
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 48 of 60




Exhibit Page 141
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 49 of 60




Exhibit Page 142
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 50 of 60




Exhibit Page 143
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 51 of 60




Exhibit Page 144
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 52 of 60




Exhibit Page 145
          Case 6:23-cv-01282-MK   Document 35   Filed 12/18/23   Page 53 of 60




                                   Exhibit AB
      Declaration of Lois Anderson in Support ORTL’s Exemption Request
                                  (Excerpts)




Exhibit Page 146
          Case 6:23-cv-01282-MK    Document 35    Filed 12/18/23      Page 54 of 60


1                                   UNITED STATES DISTRICT COURT
2                                 IN AND FOR THE DISTRICT OF OREGON
3
                                                            )
4                  OREGON RIGHT TO LIFE,                    )
                                                            )
5                                          Plaintiff,       )
                                                            )
6                                   vs.                     )   No. 6:23-cv-01282-MK
                                                            )
7                  OREGON DEPARTMENT OF CONSUMER            )
                   AND BUSINESS SERVICES and                )
8                  ANDREW R. STOLFI, in his                 )
                   official capacities as                   )
9                  Department of Consumer and               )
                   Business Services Director and           )
10                 Oregon Insurance Commissioner,           )
                                                            )
11                                         Defendants.      )
                                                            )
12
13
14
15                                             DEPOSITION OF
16                                        LOIS CATHERINE ANDERSON
17                                  Taken in behalf of Defendants
18                                                *     *   *
19                                            October 3, 2023
20                             Three Centerpointe Drive, Suite 160
21                                    Lake Oswego, Oregon 97035
22
23
24                   Chris E. Roemmich
25                   Court Reporter

                                                                              Page 1

                                      Veritext Legal Solutions
                             calendar-pnw@veritext.com 503.245.4552
Exhibit Page 147
          Case 6:23-cv-01282-MK     Document 35   Filed 12/18/23      Page 55 of 60


1        Oregon Right to Life?
2                  A.   Well, first, I was employed at the time and
3        have some memory that it happened, but then we -- in
4        the process of preparing, we looked it up, and I
5        reviewed it.
6                  Q.   Let's look at page 6, specifically paragraph
7        17 of Exhibit 1.
8                       MR. BOPP:     I'm there.       Thank you.
9        BY MR. MARSHALL:
10                 Q.   Paragraph 17 in the second to the last line
11       refers to ORTL's, so Oregon Right to Life's, religious
12       beliefs.        What are Oregon Right to Life's religious
13       beliefs?
14                 A.   They're stated in our documents that they are
15       based in Judeo-Christian religious beliefs generally.
16                      (Exhibit No. 2 marked for identification.)
17       BY MR. MARSHALL:
18                 Q.   I'm going to mark as Exhibit 2 a five page
19       document, and please thumb through the whole document,
20       Ms. Anderson, but in particular, I am going to ask you
21       about the fourth page of the document which is labeled
22       page 3 of 4 and specifically article 6.3.
23                 A.   Uh-huh.
24                      MR. BOPP:     I'm there.
25       BY MR. MARSHALL:

                                                                            Page 16

                                      Veritext Legal Solutions
                             calendar-pnw@veritext.com 503.245.4552
Exhibit Page 148
          Case 6:23-cv-01282-MK        Document 35     Filed 12/18/23      Page 56 of 60


1                  Q.      Does Exhibit 2 have the current articles of
2        incorporation for Oregon Right to Life, the (c)(4)
3        organization?
4                  A.      Yes.
5                  Q.      I want to direct your attention to article
6        6.3.           Was the reference "the purposes of the
7        corporation shall be carried out with integrity and
8        nonviolence, and by means consistent with traditional
9        Judeo-Christian ethics" --
10                 A.      Yes.
11                 Q.      -- is that what you were referring to?
12                 A.      Yes.
13                 Q.      Does Oregon Right to Life have any other
14       religious beliefs?
15                 A.      I -- I think -- no.           That's -- no.
16                 Q.      Does Oregon Right to Life have any other
17       religious practices?
18                 A.      Other religious practices.               What religious --
19       I guess that -- can you -- I don't understand that
20       question.
21                 Q.      Does Oregon Right to Life practice or
22       facilitate other's practice of religion?
23                 A.      I guess based on my personal knowledge, which
24       is what I'm talking about, practice of religion, yeah,
25       I don't -- I don't think I know that.

                                                                                 Page 17

                                           Veritext Legal Solutions
                                  calendar-pnw@veritext.com 503.245.4552
Exhibit Page 149
          Case 6:23-cv-01282-MK      Document 35     Filed 12/18/23      Page 57 of 60


1                  Q.   You don't know one way or the other whether
2        Oregon Right to Life has other religious practices?
3                  A.   No.
4                  Q.   And you don't know one way or the other
5        whether Oregon Right to Life facilitates other
6        religious practices?
7                  A.   No.
8                  Q.   Okay.     Let's set aside Exhibit 2 and look
9        back at Exhibit 1 --
10                 A.   Okay.
11                 Q.   -- on page 4, and specifically I'll direct
12       you to paragraph 8.
13                      MR. BOPP:       I'm there.
14       BY MR. MARSHALL:
15                 Q.   Paragraph 8 notes that Oregon Right to Life
16       objects on religious grounds to providing insurance
17       coverage in its health benefit plan for, one, abortion
18       except to save the mother's life and, two,
19       contraceptives that act as abortifacients.
20                 A.   Uh-huh.
21                 Q.   Do you agree that the Providence Health Plan
22       accommodates the abortion objection noted as sub 1?
23                 A.   Do I agree that it accommodates?                     No, I
24       don't.
25                 Q.   Why not?

                                                                               Page 18

                                         Veritext Legal Solutions
                                calendar-pnw@veritext.com 503.245.4552
Exhibit Page 150
          Case 6:23-cv-01282-MK      Document 35     Filed 12/18/23      Page 58 of 60


1                  Q.   We can set that aside.
2                       Oregon Right to Life sought an exception
3        under the Weldon Amendment provision of HBE 3391; is
4        that right?
5                  A.   I think the Weldon Amendment is federal.
6                  Q.   Did Oregon Right to Life seek an exemption
7        from DCBS, the agency that is sued now and administers
8        the law, from the law in 2019 and 2020?
9                  A.   Yes.
10                 Q.   Okay.     And the counsel that pursued that
11       exception was Patrick DeCloux?
12                 A.   Yes.
13                 Q.   And I assume that Oregon Right to Life
14       abandoned that effort after the Biden administration
15       changed its position on the Weldon Amendment in May of
16       2021?
17                 A.   No.
18                 Q.   Okay.     When -- what did Oregon Right to Life
19       do to gain relief from the mandate after May of 2021?
20                 A.   After May of 2021, I don't -- I don't -- I
21       don't remember.            That's a -- are -- yeah.                 You can ask
22       me.        I don't remember after May of 2021.                     I don't
23       know.
24                 Q.   Besides -- let me ask it a different way.
25       I'm aware of two efforts for the -- for Oregon Right

                                                                               Page 50

                                         Veritext Legal Solutions
                                calendar-pnw@veritext.com 503.245.4552
Exhibit Page 151
          Case 6:23-cv-01282-MK     Document 35     Filed 12/18/23      Page 59 of 60


1        to Life to gain relief from this mandate.                          One of them
2        is Mr. DeCloux's effort with directly with DCBS, and
3        the second is with -- is through this lawsuit.                            Are
4        you aware of any other efforts?
5                  A.   Yes.
6                  Q.   What are those?
7                  A.   We made a complaint to the Office of Civil
8        Rights in the Health and Human Services Department.
9                  Q.   And I -- am I correct in understanding the
10       Health and Human Services Office of Civil Rights
11       you're referring to is the Federal Office of Civil
12       Rights --
13                 A.   Yes.
14                 Q.   -- for the Federal HHS?
15                 A.   Yes.
16                 Q.   When did that occur?
17                 A.   I don't -- I don't remember when it -- when
18       it occurred.
19                 Q.   Do you recall whether Mr. Biden or Mr. Trump
20       was president at that time?
21                 A.   It was when Mr. Trump was president.
22                 Q.   Did Mr. DeCloux represent Oregon Right to
23       Life in that effort?
24                 A.   I don't think so.          No.
25                 Q.   Who did?

                                                                              Page 51

                                        Veritext Legal Solutions
                               calendar-pnw@veritext.com 503.245.4552
Exhibit Page 152
          Case 6:23-cv-01282-MK      Document 35     Filed 12/18/23      Page 60 of 60


1                  A.   I think it was -- I think it was James Bopp.
2        I'm pretty sure.
3                  Q.   When did that effort -- when did that
4        complaint end?
5                  A.   Oh, when did it end?
6                  Q.   Yeah.
7                  A.   I don't -- I don't think it has ended.                           I
8        think it's still open.
9                  Q.   Other than the request for relief directly to
10       DCBS, the complaint to the Office of Civil Rights and
11       the Federal Health and Human Services Department and
12       this lawsuit, has Oregon Right to Life taken any other
13       action to seek relief from the mandate?
14                 A.   No.
15                 Q.   I'm going to mark as Exhibit 8 a two-page
16       document entitled political assistant job description.
17                 A.   Okay.
18                      (Exhibit No. 8 marked for identification.)
19       BY MR. MARSHALL:
20                 Q.   What is Exhibit 8?
21                 A.   It's job description for an open position.
22                 Q.   I see it's -- the entity here is the PAC?
23                 A.   Yeah.
24                 Q.   Does this person have any responsibility to
25       the (c)(4)?

                                                                               Page 52

                                         Veritext Legal Solutions
                                calendar-pnw@veritext.com 503.245.4552
Exhibit Page 153
